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        Exhibit A
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                              STATEMENT OF DANIELLE KELLEY


STATE OF TEXAS                     §
COUNTY OF BEXAR                    §

     Before me, the undersigned notary public, on this day personally appeared Danielle Kelley,
the affiant, who being by me duly sworn, upon this oath deposed and said that this statement is
made on personal knowledge and is true and correct:

   1.   "My name is Danielle Kelley. I am over 18 years of age. I am of sound mind, have never
        been convicted of a felony, and competent to make this statement. The facts stated in this
        affidavit are within my personal knowledge and are true and correct.
   2.   I was married to Devin Kelley. We married on April 4, 2014 and lived together until his
        passing. Shortly after we married, we moved to Colorado Springs, Colorado.
   3.   In or around November or December 2015, I was shopping with Devin at the Dick's
        Sporting Goods, located at 303 Creekside Way,New Braunfels, Texas.
   4.   That day, Devin went to the gun counter to purchase a Ruger Assault Rifle that he had
        wanted for some time. I was present at the gun counter with Devin for part of the time of
        the transaction and personally witnessed him looking at multiple guns including a Ruger
        Assault Rifle. He completed purchase paperwork there and the Manager at Dick's Sporting
        Goods came over and declined to sell him the gun because of an ID issue. Devin had a
        Colorado driver's license at that time and did not have a Texas ID. Devin was prevented
        from purchasing the gun at Dick's Sporting Goods that day. We did not visit Dicks again
        after that.
   5.   In or around April 2016, Devin and I went to Academy in Selma, Texas. There he
        purchased a Ruger AR 556; that day he also purchased a magazine and anununition. It was
        a quick and easy transaction. It is my understanding that the furearm Devin used in the
        Sutherland Springs shootings was the AR 556 that Devin bought at Academy located in
        Selma, Texas.
   6.   After Devin purchased the AR, we consistently went back to Academy in Selma. With
        each visit to Academy, which happened about once a month, Devin would purchase
        additional magazines and multiple boxes of ammunition.
   7.   Devin did not disclose to me his criminal background, that he wasn't allowed to have
        firearms or his intentions in purchasing the AR 556 or any of the ammunition. If there was
        anything I could've done or intervened to prevent the shooting, I would've done it.

        Further, affiant sayeth not.

                                                     Danielle Kelley

          Signed and sworn before me on the^^^^ day of April 2(y
           NICOLE B DAVIS
                125547372
        NOTARY PUBLIC. STATE OF TEXAS
           MY COMMISSION EXPIRES

           MARCH 21. 2023
                                        I
                                        S
                                             Notary Public in and for
